           Case: 23-1980           Document: 20   Page: 1   Filed: 07/14/2023




FORM 9A. Notice of Related Case Information                                  Form 9A (p. 1)
                                                                               March 2023



                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                     NOTICE OF RELATED CASE INFORMATION

            Case Number 23-1980, 23-2076
    Short Case Caption Juniper Networks, Inc. v. Swarm Technology LLC
   Filing Party/Entity Juniper Networks, Inc.


  Instructions: Do not duplicate information. The notice must only be filed at the
  time of filing the first Certificate of Interest or, subsequently, if information
  changes during the pendency of the appeal. See Fed. Cir. R. 47.5(b). Attach
  additional pages as needed. This notice must not be included in a motion,
  petition, related response, or brief; please only include the Certificate of Interest
  (Form 9) in those documents.

1. Related or prior cases. Provide the case title, case number, and originating
   tribunal for each case. Fed. Cir. R. 47.5(b)(1).

 Juniper Networks, Inc., et al. v. Swarm Technology LLC, 3:20-cv-03137 (N.D. Cal.)
 Swarm Technology LLC v. Amazon.com Inc., 2:21-cv-00438 (D. Ariz.)
 Amazon.com, Inc. v. Swarm Technology LLC, IPR2022-00283 (P.T.A.B.)
 Juniper Networks, Inc. v. Swarm Technology LLC, IPR2022-00141 (P.T.A.B.)
 (related patent)
 Amazon.com, Inc. v. Swarm Technology LLC, IPR2022-00633 (P.T.A.B.) (related
 patent)
 Amazon.com, Inc. v. Swarm Technology LLC, IPR2023-00390 (P.T.A.B.) (related
 patent)
 Juniper Networks, Inc. v. Swarm Technology LLC, 23-1980 (Fed. Cir.) (consolidated
 appeal)




        Additional pages attached
          Case: 23-1980            Document: 20       Page: 2   Filed: 07/14/2023




FORM 9A. Notice of Related Case Information                                        Form 9A (p. 2)
                                                                                     March 2023


2. Names of all parties involved in the cases listed above. Do not duplicate
   the names of parties. Do not relist the case information. Fed. Cir. R.
   47.5(b)(2)(A).
 Juniper Networks, Inc.
 Swarm Technology LLC
 Amazon.com, Inc.
 Apstra, Inc.




       Additional pages attached


3. Names of all law firms, partners, and associates in the cases listed above.
   Do not duplicate the names of law firms, partners, and associates. Do not relist
   case information and party names. Fed. Cir. R. 47.5(b)(2)(B).
 Fisch Sigler: Adam A. Allgood, Joseph F. Edell, Alan M. Fisch, Ken K. Fung,
 Andrew L. Ramos, R. William Sigler.
 Latham & Watkins: Adam M. Greenfield, Ashley N. Finger, David A. Zucker,
 Gabriel K. Bell, Kimberly Q. Li, Maximilian A. Grant, Jonathan M. Strang.
 Beus Gilbert McGroder: Alexis Lindquist, Christine N. Jones, David A. Neal, K.
 Reed Willis, Leo R. Beus, Lori Lea Voepel, L. Richard Williams, Megan E. Beus,
 Michael K. Kelly, Timothy James Casey.
 Ernst Brown & Draper: Daniel J. Anderson.
 Jennings Strouss & Salmon: Daniel R. Pote.

 ✔      Additional pages attached

I certify the following information and any attached sheets are accurate and complete
to the best of my knowledge.


Date: 07/14/2023                                           /s/ R. William Sigler
                                              Signature:

                                              Name:        R. William Sigler
        Case: 23-1980         Document: 20        Page: 3      Filed: 07/14/2023




                     Additional Page Providing Names of
            All Law Firms, Partners, and Associates in Listed Cases:


Steyer Lowenthal Boodrookas Alvarez & Smith: Allan Steyer, D. Scott Macrae, Jill K. Cohoe,
Suneel Jain.
Spencer Fane: Andrew M. Federhar, Jessica A. Gale.
